         Case 1:19-cv-01974-TNM Document 115 Filed 08/04/21 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




 COMMITTEE ON WAYS AND MEANS,
 UNITED STATES HOUSE OF
 REPRESENTATIVES,

                   Plaintiff,
                        v.                             Case No. 1:19-cv-01974-TNM


 UNITED STATES DEPARTMENT OF THE
 TREASURY, et al.,


                   Defendants,


 DONALD J. TRUMP, et al.,


                   Defendants-Intervenors.



           MOTION FOR VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Plaintiff Committee on Ways and Means of the United States House of Representatives

hereby moves to dismiss without prejudice its claims in the above-captioned matter pursuant to

Rule 41(a)(2) of the Federal Rules of Civil Procedure, because there is no longer any dispute

between Plaintiff and Defendants. Counsel for Defendants have indicated that they consent to

this relief. Defendants-Intervenors state that they do not oppose the dismissal of Plaintiff’s

claims provided that the Court agrees that the dismissal cannot and will not adversely affect

Defendants-Intervenors’ cross-claims and counterclaims.

       On July 2, 2019, Plaintiff filed this matter seeking declaratory and injunctive relief

regarding Committee Chairman Richard E. Neal’s April 3, 2019 request to Defendant Charles P.
         Case 1:19-cv-01974-TNM Document 115 Filed 08/04/21 Page 2 of 3




Rettig, Commissioner of the Internal Revenue Service, and Chairman Neal’s May 10, 2019

subpoenas to then-Defendant Steven T. Mnuchin, then-Secretary of the Treasury, and

Commissioner Rettig. ECF Nos. 1, 1-1, 1-11, and 1-12. The request, pursuant to 26 U.S.C.

§ 6103(f), and subpoenas, instructed Defendants to produce certain tax returns and return

information of then-President Donald J. Trump and eight of his business entities. On July 18,

2019, this Court granted the unopposed motion to intervene by then-President Trump and his

business entities. ECF No. 14.

       On August 20, 2019, Plaintiff filed a motion for expedited consideration of this case,

ECF No. 30, and a motion for summary judgment, ECF No. 29. On August 29, 2019, this Court

denied the motion to expedite and denied without prejudice the motion for summary judgment as

premature. ECF No. 38. On September 6, 2019, Defendants and Defendants-Intervenors filed a

motion to dismiss. ECF No. 44.

       On January 14, 2020, this Court issued a minute order staying the case. On March 5,

2020, this Court issued a minute order lifting the stay. On March 20, 2020, this Court issued a

further stay order, ECF No. 91, which remains in effect.

       On June 16, 2021, Chairman Neal sent a request, pursuant to 26 U.S.C. § 6103(f), for

certain tax returns and return information of Mr. Trump and eight of his business entities to

Defendant Janet L. Yellen, Secretary of the Treasury, and Commissioner Rettig. ECF No. 111

Ex. A. On July 30, 2021, in response to a request from the Acting General Counsel of the

Department of the Treasury for legal advice, the Department of Justice Office of Legal Counsel

issued an opinion. ECF 111 Ex. B. That opinion concluded that Secretary Yellen must comply

with Plaintiff’s June 16, 2021 request, id. at 39, and Defendant Department of the Treasury has

represented to this Court that it intends to do so, ECF No. 111 at 2.




                                                 2
        Case 1:19-cv-01974-TNM Document 115 Filed 08/04/21 Page 3 of 3




       On August 4, 2021, Defendants-Intervenors filed an answer and counterclaims/cross-

claims against Plaintiff and Defendants. ECF No. 113.

       Accordingly, Plaintiff’s claims against the Defendants should be dismissed by the Court

without prejudice as moot. Such dismissal will have no adverse effect on the Defendants-

Intervenors’ counterclaims/cross-claims.




Dated: August 4, 2021                              /s/ Douglas N. Letter
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